Case 2:07-cr-20246-DML-MKM ECF No. 392, PageID.2697 Filed 05/18/12 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 VICTOR DESHAWN HOLMES,

                        Petitioner,
                                                                   Criminal Case Number 07-20246
 v.                                                                Civil Case Number 11-15559
                                                                   Honorable David M. Lawson
 UNITED STATES OF AMERICA,

                   Respondent.
 ____________________________________/

                  ORDER DENYING CERTIFICATE OF APPEALABILITY

        Petitioner Victor Deshawn Holmes was convicted upon his plea of guilty of conspiracy to

 distribute more than five grams of crack cocaine and sentenced to 148 months imprisonment and

 eight years of supervised release. Holmes’s conviction and sentence were affirmed on appeal. On

 December 19, 2011, the petitioner, Victor Deshawn Holmes, filed a motion pro se to vacate his

 guilty plea and dismiss his case, in which he challenged his status as a career offender. The Court

 construed the petitioner’s request as a motion seeking relief under 28 U.S.C. § 2255 and denied the

 motion on January 4, 2012.

        Pursuant to Rule 11 of the Rules Governing Section 2255 Cases in the United States District

 Courts, which was amended as of December 1, 2009:

        The district court must issue or deny a certificate of appealability when it enters a
        final order adverse to the applicant. . . . If the court issues a certificate, the court must
        state the specific issue or issues that satisfy the showing required by 28 U.S.C.
        § 2253(c)(2). If the court denies a certificate, a party may not appeal the denial but
        may seek a certificate from the court of appeals under Federal Rule of Appellate
        Procedure 22.

 Rule 11(a), Rules Governing Section 2255 Cases in the United States District Courts.
Case 2:07-cr-20246-DML-MKM ECF No. 392, PageID.2698 Filed 05/18/12 Page 2 of 2




        A certificate of appealability may issue “only if the applicant has made a substantial showing

 of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Courts must either issue a certificate

 of appealability indicating which issues satisfy the required showing or provide reasons why such

 a certificate should not issue. 28 U.S.C. § 2253(c)(3); Fed. R. App. P. 22(b); In re Certificates of

 Appealability, 106 F.3d 1306, 1307 (6th Cir. 1997). To receive a certificate of appealability, “a

 petitioner must show that reasonable jurists could debate whether (or, for that matter, agree that) the

 petition should have been resolved in a different manner or that the issues presented were adequate

 to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)

 (internal quotes and citations omitted).

        The Court now concludes that the petitioner has failed to make a substantial showing that

 he was denied his constitutional rights and that reasonable jurists could not debate the correctness

 of the Court’s decision. Therefore, the Court will deny a certificate of appealability.

        Accordingly, it is ORDERED that a certificate of appealability is DENIED.

                                                         s/David M. Lawson
                                                         DAVID M. LAWSON
                                                         United States District Judge

 Dated: May 18, 2012


                                                   PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on May 18, 2012.

                                                             s/Deborah R. Tofil
                                                             DEBORAH R. TOFIL




                                                             -2-
